Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 1 of 8




         EXHIBIT
                        44
                               A
Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 2 of 8


                                                                                                                Filed
                                                                                                12/1612019 9:53 AM
                                                                                                    Anne Lorentzen
                                                                                                       District Clerk
                                                                                               Nueces County, Texas


                                IN THE COUNTY COURT
                              OF NUECES COUNTY, TEXAS
                             COUNTY COURT AT LAW NO.               -




 Mariana Sanchez,                               §
                                                §
            Plaintiff,                          §
                                                §                   20I9CCV-62107-2
 V.                                             §       Cause No.
                                                §
 Walmart Inc.                                   §
 Wal-Mart Stores Texas, LLC, and                §
 Wal-Mart Real Estate Business Trust,           §
                                                §
            Defendants                          §


                            PLAINTIFF'S ORIGINAL PETITION


        Plaintiff Mariana Sanchez ("Plaintiff"), by and through undersigned counsel, Complain of

 and about Defendants Walmart Inc., Wal-Mart Stores Texas, LLC, and Wal-Mart Real Estate

 Business Trust (collectively "Defendants") and for causes of action shows unto the Court as

 follows:

                                DISCOVERY CONTROL PLAN

 1.      Plaintiff intends to conduct discovery under Level 3 of Rule 190 of the Texas Rules of

 Civil Procedure.

                                             PARTIES

 2.      Plaintiff is an individual who at all times relevant to this action resided in Nueces County,

 Texas. Plaintiff's Texas driver's license number is XXXXX575, and her Social Security Number

  is XXX-XX-X947.

  3.     Defendant Walmart Inc. ("Walmart Inc.") is a foreign corporation organized under the laws

  of the State of Delaware, with its principal place of business in the State of Arkansas, and doing.
Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 3 of 8




business in the State of Texas. Walmart Inc. may be served with process by serving its registered

agent, CT Corporation System, via private process server at 1999 Bryan Street, Suite 900, Dallas,

Texas 75201,

4.        Defendant Wal-Mart Stores Texas, LLC ("Wal-Mart Stores Texas, LLC") is a foreign

limited liability company organized under the laws of the State of Delaware, with its principal

place of business in the State of Arkansas, and doing business in the State of Texas. Wal-Mart

Stores Texas, LLC may be served with process by serving its registered agent, CT Corporation

System, via private process server at 1999 Bryan Street, Suite 900, Dallas, Texas 75201,

5.        Defendant Wal-Mart Real Estate Business Trust ("Wal-Mart Real Estate Business Trust")

 is a foreign statutory trust organized under the laws of the State of Delaware, with its principal

 place of business in the State of Arkansas, and doing business in the State of Texas. Wal-Mart

 Real Estate Business Trust may be served with process by serving its registered agent, CT

 Corporation System, via private process server at 1999 Bryan Street, Suite 900, Dallas, Texas

 75201,

                                   JURISDICTION AND VENUE

 6,        This Court has jurisdiction pursuant to Article V, Section 16 of the Texas Constitution and

 Section 25.1802 of the Texas Government Code.

  7.       This Court has jurisdiction over the non-resident defendants named herein pursuant to Title

  2, Subtitle B, Chapter 17, Subchapter C of the Texas Civil Practice and Remedies code because

  said defendants were doing business in the State of Texas.

  8.       This Court is an appropriate venue because the incident which forms the basis of this

     lawsuit occurred in Corpus Christi, Nueces County, Texas. See Tex. Civ. Prac. & Rem. Code §

     15.002(a)(1).
Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 4 of 8




                                          BACKGROUND

9.       As of July 26, 2019, Wal-Mart Real Estate Business Trust owned the Walmart retail store

 located at 4109 South Staples Street, Corpus Christi, Nueces County, Texas 78411 ("Store #1494")

 and leased it to Wal-Mart Stores Texas, LLC, the store operator.

 tO.     On July 26, 2019, Plaintiff entered Store #1494 to shop for groceries. While shopping for

 groceries, Plaintiff entered the fresh produce department.

 11      Plaintiff walked onto a black floormat in front of a produce display, Unbeknownst to

 Plaintiff, water had leaked from the produce display onto the ground, soaking the floormat,

 12,     When Plaintiff stepped from the floormat onto the gray concrete flooring, she slipped and

 fell on water that had seeped out from under the floormat.

 13.     As a result of the accident, Plaintiff suffered severe bodily injuries to her lower back and

 left knee.

                                            COUNT 1:
                                        PREMISES LIABILITY

 14.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff hereby adopts the

 allegations made in all preceding paragraphs of this Original Petition as if fully set forth herein.

  15.     At the time of the accident, Wal-Mart Real Estate Business Trust owned Store #1494 and

  therefore owed a duty to make and keep the premises reasonably safe for business invitees,

  including customers like Plaintiff.

  16.     In addition and in the alternative, at the time of the accident, Wal-Mart Stores Texas, L.LC

  exercised day-to-day operational control over Store #1494 and therefore owed a duty to make and

  keep the premises reasonably safe for business invitees, including customers like Plaintiff.

  .17.    In addition and, in the alternative, at the time of the accident, Walmart Inc. had a contractual

  right to exercise day-to-day operational control over Store #1494 and therefore owed a duty to

                                                     3
Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 5 of 8




make and keep the premises reasonably safe for business invitees, including customers like

Plaintiff,

18.     Defendants' produce display leaked water onto the ground in the produce department,

soaking the floormat in water and causing water to seep out from underneath it.

19.     Defendants' water-soaked floormat was an unreasonably dangerous condition because it

 created a slip-and-fall risk that was difficult for customers to see and which customers would not

 expect to encounter.

 20.     Defendants should have known about the water-soaked floormat because their employees

 were tasked with performing routine inspections of the floors and displays in the produce

 department.

 21.     In addition and in the alternative, Defendants should have known about the water-soaked

 floormat because their employees walked on the floormat throughout the day to stock produce.

 22,     Despite having notice of the water-soaked floormat, Defendants failed to act reasonably to

 make and keep their premises reasonably safe, breaching their duty to Plaintiff in one or more the

  following respects:

               a. Failing to perform routine inspections of the floors in the produce department;

               b. Failing to perform routine inspections of the displays in the produce department;

               c. Failing to perform routine maintenance on the displays in the produce department;

               d. Failing to remove the floormat when it became soaked with water;

               e. Failing to dry the floormat with fans when it became soaked with water;

               f. Failing to place signs near the floormat to warn about the wet floor;

               g. Failing to give verbal warnings to customers about the wet floor; and

               h. Allowing water from the produce display to accumulate on the floormat.


                                                    4
Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 6 of 8




23.     Each of the aforementioned acts and omissions, taken singularly or in any combination,

 directly and proximately caused Plaintiff's damages. Plaintiff's slip-.rid-fall accident was a

 reasonably foreseeable result of Defendants' failure to make and keep safe the floors and displays

 in the produce department.

                                          COUNT 2:
                                     VICARIOUS LIABILITY

 24,     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff hereby adopts the

 allegations made in all preceding paragraphs of this Original Petition as if- fully set forth herein.

 25.     On the date of Plaintiff's accident, Defendants' employees were present at Store #1494 and

 were performing work for Defendants' benefit.

 26.     According to the doctrine of respondeat superior, any liability found against Defendants'

 employees should be imputed jointly and severally to Defendants.

                                           COUNT 3:
                                      ALTER EGO LIABILITY

 27.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff hereby adopts the

  allegations made in all preceding paragraphs of this Original Petition as if fully set forth herein.

  28.     Walmart Inc. owned and operated Wal-Mart Stores Texas, LLC and Wal-Mart Real Estate

  Business Trust as corporate alter egos for itself.

  29.     Walmart Inc., through its affiliates and subsidiaries, had a contractual right to control, and

  did in fact control, the day-to-day operations of Wal-Mart Stores Texas, LLC and Wal-Mart Real

  Estate Business Trust,

  30.     According to the alter ego theory, any liability found against Wal-Mart Stores Texas, LLC

  or Wal-Mart Real Estate Business Trust should be imputed jointly and severally to Walmart Inc.




                                                       5
Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 7 of 8




                                            DAMAGES

31.    As a producing, direct, and proximate result of Defendants' negligent conduct, Plaintiff

suffered the following damages:

            a. Past and future medical expenses;

            b. Past and future loss of earning capacity;

            c. Past and future physical impairment;

            d. Past and future physical pain and suffering; and

            e. Past and future mental anguish.

32.    The damages sought by Plaintiff are within the jurisdictional limits of this Court.

33.    Plaintiff seeks monetary relief over $1,000,000.00.

                                          JURY DEMAND

34.     Plaintiff hereby requests a trial by jury on all issues of fact in this. action and herewith

tenders the jury fee,

                                   CONDITIONS PRECEDENT

35.     All conditions precedent to the institution of this lawsuit have been performed or have

occurred.

                 NOTICE OF INTENT TO USE PRODUCED DOCUMENTS

 36i    Plaintiff intends to use all documents produced by Defendants in response to written

 discovery against Defendants in pretrial proceedings and at trial.

                           REQUEST FOR NOTICE OF INTENT
                     TO USE EVIDENCE OF CRIMINAL CONVICTIONS

 37,    Plaintiff requests that, within ninety days before the end of the discovery period,

 Defendants provide written notice of their intent to use evidence of a criminal conviction, if any,

 against Plaintiff or against any of Plaintiff s testifying experts.
Case 2:20-cv-00061 Document 1-2 Filed on 02/28/20 in TXSD Page 8 of 8




                                    PRAYER FOR RELIEF

38.    Based upon the foregoing allegations, Plaintiff requests that Defendants be cited to appear

and answer and that, upon final trial or other disposition of this matter, the Court enter judgment

against Defendants for all damages and relief requested herein, together with pre-judgment interest

at the maximum legal rate until the date ofjudgment, post-judgment interest at the maximum legal

rate until the date the judgment is paid, costs of court, and all other relief to which Plaintiff is

entitled.

                                              Respectfully submitted,

                                              THE FATEL FIRM PLLC
                                              1129 Airline Rd.
                                              Corpus Christi TX 78412
                                              (361) 400-2036 Phone
                                                               -



                                              (361) 756-0737 Fax
                                                               -




                                              By:
                                                      Jus' Green
                                                                           P.    Z)- ~—

                                                      ju(jnthepatelfirm.com
                                                      State Bar No, 24087621
                                                      Minesh J. Patel
                                                      minesh@thepatelfirm.com
                                                      State Bar No. 24088194

                                               ATTORNEYS FOR PLAINTIFF
